444 F.2d 253
    PAGE AND WIRTZ CONSTRUCTION COMPANY et al., Plaintiffs-Appellees, Cross-Appellants,v.INTERNATIONAL ASSOCIATION OF BRIDGE, STRUCTURAL AND ORNAMENTAL IRONWORKERS OF AMERICA, LOCAL UNION 408, et al., Defendants-Appellants, Cross-Appellees.
    No. 71-1397 Summary Calendar.**
    United States Court of Appeals, Fifth Circuit.
    June 21, 1971.
    
      Appeals from the United States District Court for the Northern District of Texas; Halbert O. Woodward, District Judge.
      Tom Upchurch, Jr., Buddy Wright, Fort Worth, Tex., for appellants.
      John Cosmic, C. J. Taylor, Jr., Amarillo, Tex., for appellees.
      Before WISDOM, COLEMAN and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      The sole issue in a trial to the Court below was the amount of damages, if any, due the appellees and cross appellants under 29 U.S.C. § 187(b) as the consequence of a secondary boycott [see our decision as to the boycott, International Association of Bridge, Structural and Ornamental Iron Workers of America, Local Union 408, AFL-CIO v. N.L.R. B., No. 29,944, September 1, 1970].
    
    
      2
      After hearing the evidence the District Court filed findings of fact and conclusions of law, fixing and awarding damages in some instances and denying recovery in others. The findings are supported by substantial evidence and are not clearly erroneous, Rule 52(a), Federal Rules of Civil Procedure.
    
    
      3
      The judgment will be affirmed on both direct and cross appeals.
    
    
      4
      Affirmed.
    
    
      
        Notes:
      
      
        **
         Rule 18, 5th Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431 F.2d 409, Part I
      
    
    